      Fil in this information to identify your case

^     Debtor 1 Anabel
                           First Name                     Midciie Name
                                                                                        Gutierrez
                                                                                           L£S* Name


      Debtor 2
      (SpOUSS,   if filing) First Name                    Midrite Nams                     Last Name



      UnitedStates Bankruptcy Courtforthi>hoenix
              District^T"3
                       (Slate)
      casenumber                                                                                                         .              i\C, 0 13 ''"                       LJ Check if this is an
                          (lfl<nowni                                                                                                  t^UV ~ , ^c, ,                              amended filing

                                                                                                                                        ^^^ 'mend'df lifl8
    OfficialForm106Sum 19 ° 097 56                                                                                                ^^
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must Till out a new Summary and check the box at the top of this page.

    Part 1:         Summarize Your Assets



                                                                                                                                                                        Your assets
                                                                                                                                                                        Valueof whatyou:own
    1. Schedule A/B: Property (Official Form 106A/B)
       la. Copy line 55, Total real estate, from Schedule A/B.


        lb. Copyiine62, Total personal property, from Schedule A/B.............................................................................................            ^300. 00

        1c. Copy line 63, Total of all property on Schedule A/B......................................................................................................      U4. 300. 00



      art 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amoyht.you.bwe
    2. Schedule D: Creditors Who Have Ciaims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule 0.,.,...,....

    3. Schedule E/F: CreditorsWho Have Unsecured Claims: (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

        3b. Copy the total claims from Part 2 (nonprionty unsecured claims) from line 6j of Schedule E/F.
                                                                                                                                                                        + ^762.00

                                                                                                                                            Your total liabilities         ^4,879.00

    Par 3:          Sumiasrize Your income snd Sxpenses


    4. Schedule I: Your Income (Officiai Form 1061)                                                                                                                             564. 00
                                                                                                                                                                            .


       Copy your combined monthly income from lins 12 of Schedule I

    5. Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J...........                                                                                                   ^03.00




    Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                                                                         Main Document    Page 1 of 39
              Anabel                            Gutierrez
Debtor 1                                                                                          Case number (iftomvn)
                  First Name                       Last Name




Part 4-          Answer These Questions for Administrative            and Statistical Records


6 Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           /es

7 What kind of debt do you have?

       -Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
        family, or household purpose. " 11 U. S.C. § 101(8). Fill out tines 8-9g for statistical purposes. 28 U. S.C. § 159.

    a Your debts are not primarily consumer debts. You have nothing to report on this partof the form. Check this boxand submit
        this form to the court with your other schedules.



8   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 1228 Line 11: OR, Form 122C-1 Line 14.                                                               ^,920.00




9 Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


      From Part 4 oh Sc/ieduteE/F. copy the folibwirig:


    9a. Domestic support obligations (Copy line 6a.)                                                      g. oo

    9b. Taxes and certain other debts you owe the government. (Copy iine 6b.)                             g.oo

    9c. Claims for death or persona! injury while you were intoxicated. (Copy line 6c.)                   $. 00


    9ct. Student loans. (Copy iine 6f.)                                                                   §.00

    9e. Obligationsarising out of a separation agreement or divorce that you did not report as            0. 00
                                                                                                          ¥_
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


    9g. Total. Add lines 9a through 9f.                                                                   ). 00




    Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
       Case 2:19-bk-09756-BKM                           Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                        Desc
                                                        Main Document    Page 2 of 39
Fill in this nformation to dentify you case and this filing


Debtor 1            Anabel                                                  Gutierrez
                    First Name                   Midcile Name              Las; Name


Debtor 2
(Spouse, if filing) First Name                   Mlddla Name               Las; Name



United States Bankruptcy Court for the:         Phoenix                    DistrictofArizona
                                                                                       (State)
Case number
                                                                                                                                                a Check if this is an
                                                                                                                                                  amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    Q No. Go to Part 2.
 X Q Yes.Whereisthe property?
                                                                     What is the property? Checkall that apply.        Do not dedUGt. secured claims orexemptiQns. Put
                                                                         Single-family home                            the amQunt'ofgny:seG UI'sd;G|ai(nson'Sc/7ec?(W'D;;:
      1. 1. 462IN. 50th Avenue                                                                                          CreSUorsWho.'Have ClaimsSecured b
                                                                                                                                                        . y Property.'
                                                                         Duplex or multi-unit building
             Street address, if available, or other description
                                                                     1-1 Condominiumorcooperative                      Current value of the       Current value of the
                                                                     Q Manufacturedor mobile home                      entire property?           portion you own?
                                                                     1-] Land                                          £12,000.00                 6)2,000.00
                                                                     Q Investmentproperty
            Phoenix                       AZ            85031                                                          Describe the nature of your ownership
                                                                     -J Timeshare
             City                          State         ZIP Code                                                      interest (such as fee simple, tenancy by
                                                                     Qi Oiher.
                                                                                                                       the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Checkone
                                                                                                                     Fee Sim Ie
            Marico a
                                                                     L-j Debtor 1 only
             County                                                  Q Debtor2 only
                                                                     Q^Debtor1 andDebtor2 only                         Q Checkifthisiscommunityproperty
                                                                                                                           (see instructions)
                                                                         iit least one of the debtors and another

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
   If you own or have more than one, list here:
                                                                    What is the property? Checkall thatapply.         ..Dqnotdedyctsecureqplaimsor. exemptiQns. Put
                                                                    01 Singte-family home                               the amount ofany secured claims,Dn Sctetfote.D;
     1.2.                                                                                                              Cred'tors-Who'Havs'GlaiirisSeccireeitsyPmpei-ty.
                                                                    Q Duplexormulti-unitbuilding
             Street address, if available, or other description
                                                                    d Condominiumorcooperative                         Current value of the       Current value of the
                                                                    Q Manufactured or mobile home                      entire property?           portion you own?
                                                                    Ql Land
                                                                    Ql Investmentproperty
                                                                    LJ Timeshare                                       Describe the nature of your ownership
             City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    Q Other                                            the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Checkone.
                                                                    1-1Debtor1 only
             County
                                                                    Q Debtor2 only
                                                                    LJ Debtor1 andDebtor2 only                         Q Checkifthisiscommunityproperty
                                                                    Q At least one of the debtors and another              (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


  Official Form 106A/B                                               Schedule A/B: Property                                                               page 1
            Case 2:19-bk-09756-BKM                                Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                      Desc
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 Debtor 1
                    Anabel                                Gutierrez                                           Case number tshmwai
                     First Name




                                                                        What is the property? Checkall that appiy.            :':DohotideduGlsesured:cl8iitns.
                                                                                                                                                             of. exemptions.        Put

                                                                        t-l Single-familyhome                                      the'ampyntofany secured claims on SchecfufeO;.'
     1. 3.                                                                                                                         Creditors.WhpH.aveSlaimsSeciired.6y. Property. ;:
              Street address, if available, or other description        l_l Duplexor multi-unit building
                                                                        [-I Condominium orcooperative                              Current value of the         Current value of the
                                                                                                                                   entire property?             portion you own?
                                                                        Q Manufactured or mobile home
                                                                        Q Land
                                                                        Q Investmentproperty
             City                             State      ZIPCode        Q Timeshare                                                Describethe nature of your ownership
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                        Ql Other                                                  the entireties, or a life estate), if known.

                                                                        Who has an interest in the property? Check one
                                                                        Q Debtor1 only
             County
                                                                        1-1 Debtor 2 only
                                                                        Q Debtor 1 and Debtor 2 only                              Q Check if this is community property
                                                                        01 At least one of the debtors and another                     (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


2. Addthedollarvalueoftheportionyouownforall ofyourentriesfromParti, inciudinganyentriesforpages                                                               (12,000.00
   you haveattachedforParti.Writethatnumberhere....................................................................................... .^




Part 2:        Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in anyvehicles, whetherthey are registered or not? Includeany vehicles
you own that someone else drives, if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
 x a No
   a yes

    3. 1.    Make:
                                                                        Who has an interest in the property? Checkone.            , Do riot deduct secured claims or exemptions. Put :
                                                                                                                                  ;the.amdunt.ofanysAured;claims6n Scshedule. D'
                                                                      X D Debtor 1 only
                                                                                                                              .




             Model:                                                                                                          '::GreSlora WfioWaveClaims .Secwed'byfiroperfy. ;
                                                                        Q Debtor 2 only
             Year:                                                                                                                Current value of the          Current value of the
                                                                        Q Debtor1 andDebtor2 only
                                                                                                                                  entire property?              portion you own?
             Approximate mileage:                                       Q At least one ofthe debtors and another
             Other information:
                                                                        LJCheckifthis is community property (see
                                                                           instructions)



   If you own or have more than one, describe here:

    3. 2.    Make:
                                                                        Who has an interest in the property? Checkone.            Do flot deduct secured. claims prjexemRtions :Put.
                                                                                                                                  the. amourit of any, secured, clairtis OB ScftecfuteO;
             Model:
                                                                        U Debtor 1 only                                            Creditors Whol-iaveaiaiinsSeeure'clby Property.
                                                                        Q Debtor 2 only
             Year:                                                                                                                Current value of the         Current value of the
                                                                        Ql Debtor 1 and Debtor 2 only
                                                                                                                                  entire property?              portion you own?
             Approximate mileage:                                       Q At least one of the debtors and another
             Other information;
                                                                        L-] Check if this is community property (see
                                                                           instructions)




Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 2
             Case 2:19-bk-09756-BKM                                Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                  Desc
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 Debtor1              Anabel                       Gutierrez
                                                                                                       Case number w known)
                          First Name                Lsst Name




    3. 3.         Make:                                         Who has an interest in the property? Checkone.           Do not dsduc< secured claims or exeniplions. :Fut '
                                                                Q Debtor 1 only                                          1he;3mountpf. anysecurea'claimson Schgdule. O;- ,:
                  Model:                                                                                                 C'v{!:iors Who ,l-)ave'Ciaims Secured by Kmpeny. .
                                                                LJ Debtor2 only
                  Year:                                                                                                  Current value of the        Current value of the !
                                                                Q Debtor1 andDebtor2 only
                  Approximate mileage:                                                                                   entire property?            portion you own? |
                                                                Q At leastoneofthe debtorsandanother
                  Other information:
                                                                 Q Checkifthis is community property (see
                                                                    instructions)


    3. 4.         Make:                                         Who has an interest in the property? Checkone.            Do not deduct secured claims or exernptibns. Put
                                                                                                                        'theamo. untofanyseGuigd. elaitDSori Schedule D:.
                  Model:                                        Q Debtor1 only                                           CreditorsWhoHaveClaims SecuredSy^roperty.
                                                                Q Debtor 2 only
                  Year:                                                                                                  Current value of the       Current value of the
                                                                LJ Debtor 1 and Debtor 2 only
                                                                                                                         entire property?           portion you own?
                  Approximate mileage;                          Q At least oneofthedebtorsandanother
                  Other information:
                                                                Q Check if this is community property (see
                                                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            slo
   a Yes

    4. 1.     Make:                                             Who has an interest in the property? Checkone.          06 not deduct sscuredclaiTO or exert) ptions. Put:
                                                                                                                        the:amoynt of any secured;Glaims on Scheclwv D:
              Model:                                            1-1Debtor1 only                                         CreditorsWho:Have, Clams SBWrod by Property:
                                                                LI Debtor 2 only
              Year:
                                                                i-1 Debtor1 andDebtor2 only                             Current value of the        Current value of the
              Other information:                                Q At leastoneofthedebtorsandanother                     entire property?            portion you own?

                                                                LJCheckif this is communityproperty(see
                                                                   instructions)



   If you own or have more than one, li st here:


   4. 2.      Make:                                             Who has an interest in the property? Checi<one.        : Do not deduct'sacured claims orexemptions. Put: :
                                                                                                                         the .amount of a ny secured:claims ori. Schedule D: ;
              Model:                                            Ut Debtor1 only                                           Creditsra Who Have Ctaitna'SwwedSyProfserty. . ',
                                                                ^ Debtor2 only
              Year:                                                                                                     Current value of the        Current value of the
                                                                (-1 Debtor1 andDebtor2 only
              Other information:
                                                                                                                        entire property?            portion you own?
                                                                -] At least one of the debtors and another


                                                                Q Checkifthis is communityproperty (see
                                                                   instructions)




s. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                    .   00
   you have attached for Part 2. Write that number here ..................................................




Offciai Form 106A/B                                             Schedule A/B: Property                                                                       page 3
            Case 2:19-bk-09756-BKM                       Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                  Desc
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                          Anabel                                                             Gutierrez
    Debtor 1                                                                                                                                             Case number (<?*nowi)
                             Firsi Name




Part 3:               Describe Your Personal and Household Items

                                                                                                                                                                                                 Current value ofthe ;
Doyou own or haveanylegal or equitable ioferestjn anyofthe following items?                                                                                                                      pbrtibrtyoitbwn?         : .,
                                                                                                                                                                                                 Do'notdeduct secured claims
                                                                                                                                                                                                 W exemptions. . . . ..
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware

                   's. Describe....... \ bedroom set, dinningroom table with4 chairs, 1 dresser, 2 nightstands                                                                                       $, 500.00

7     Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games
      I-I No                                                                                     .                            . _. ".       ...                .         ..             . " ..
    x<a^es. Describe........ l.TV                                                                                                                                                                . $50.00

8. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    XQh^lo .-,..."-,.... ,". ......................-
             Yes. Describfc..........



9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                            and kayaks; carpentry tools; musical instruments
 XpTlqo
             Yes. Describe..........


10, Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
 X^Jo ...........,..........,.........,......,. -,. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ^
      -3 Yes. Describe.

11. Clothes
      Examples: Everyday clothes, furs, leather coats, designerwear, shoes, accessories
      [-1 No
 ?fr^Yes Describe........ VariousClothing

12 Jewelry
      Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
              to                                                 .                        . -                           "-.- - ....    "           ...                            "".
      Q Yes. Describe..........
l3. Non-farm animals

      Examples: Dogs, cats, birds, horses
 ??^UJO
      Q Yes. Describe.

14 Any other personal and household items you did not already list, including any health aids you did not list

         kNO
            Yes, Give specific
                                                                                                                                                                                                 s
            information,

15 Add the dollar value of all of your entries from Part 3, including sny entries for pages you have attached                                                                                    3. 150. 00
     for Part 3. Write thatnumber here ............................................................................................................................................



Officiai Form 106A/B                                                                                               Schedule A/B: Property                                                                        page 4
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                   Anabel                                  Gutierrez
 Debtor 1                                                                                         Case number 'rfknown)
                     Firei Name                              Last Name




Part 4         Describe Your Financial Assets


Do'you own or haveany legal or equitable interestirianypfthe following?                                                            Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   -Dq.not deduct, seeured'claims.
                                                                                                                                   orsxempiiphs. :

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   a No
      Lves..                                                                                                     Cash:              jlOO. OO


17 Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit shares in credit unions, brokerage houses,
             and other similar institutions. Ifyou have multiple accounts with the same institution, list each.
   q No
      ^Yes...                                                             Institution name:



                                       171. Checking account:            checkin account                                            $0. 00

                                       17. 2. Checking account:                                                                     $

                                       17.3. Savings account:                                                                       $

                                       17.4. Savings account:                                                                       s

                                       17, 5, Certificates of deposit                                                               s

                                       17.6. Other financial account:                                                               $

                                       17. 7. Other financial account:


                                       17. 8. Other financial account:

                                       17. 9. Other financial account:




is. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 X-^No
       Yes..................           Institution or issuer name:




19 Non-publiclytraded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
 XJ&-NO                                Name of entity:                                                           % of ownership:
   Q Yes. Givespecific
       information about
       them.........................




Offidai Form 106A/B                                                      Schedule A/B: Property                                                  pages
            Case 2:19-bk-09756-BKM                                Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                             Desc
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                Anabel                                        Gutierrez                             Case number ii?»now.'ii
Debtor 1
                   Firs*- Name




20 Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes and money orders.
   Non-negotiableinstrumentsarethoseyou cannottransferto someoneby signingordeliveringthem.
 X-QGjo
   Q Yes. Give specific                 Issuer name:
      information about
      them.......................




21 Retirement or pension accounts
   Examples: Interests inIRA, ERISA, Keogh, 401(k), 403(b), thriftsavings accounts, orother pension orprofit-sharing plans
 X^-No
       Yes. List each
       accountseparately.. Type ofaccount:                        Institution name:

                                        401(k)orsimilai plan:

                                        Pension plan:

                                        IRA:

                                        Retirement account:

                                        Keogh:

                                        Additional account:

                                        Additional account:




22 Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples:Agreementswith landlords, prepaidrent, publicutilities(electric, gas,water), telecommunications
   companies, or others

 ?n^h<to
   a Yes..                                                    Institution name or individual:

                                        Electric:

                                        Gas:

                                        Heating oil:

                                        Security deposit on rental unit:

                                        Prepaid rent:

                                        Telephone:

                                        Water:

                                        Rented furniture:

                                        Other:



23.Annuities(Acontractfora periodicpaymentofmoneyto you, eitherfor lifeorfora numberofyears)
 xl^hro
       Yes...........................   Issuer name and description:




 Official Form 106A/B                                                      Schedule A/B: Property                               page 6
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 Debtor 1       Anabel                                      Gutierrez                                         Case number i. iiKnmvn}
                   Fire! Name            Middte Name          Last Nams




24 Interests in an education IRA, in an account in a quaiifiedABLE program, or under a qualified state tuition program
   26 U. S. C. §§ 530(b)(1), 529A(b), and 529(b)(1).
 X^jo
       Yes ...................................   institution name and description. Separately file the records ofany interests. 11 U. S. C. § 521(c):




25.Trusts, equitable or future Interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

 X1
       Yes. Give specific j
        information about them... j


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internetdomain names, websites, proceedsfrom royalties and licensing agreements

      ^ ,..,.... _^^^^^^^^^^^^^^
   Q Yes. Givespecific '
        information about them.


27 Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
 ?fJ^
   a Yes. Give specific
       information about them.


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                            Do np.t cfedUc.t Secured
                                                                                                                                                        .   claims or exemptions. ,


28.Tax refunds owed to you
 ^No
   -J Yes. Give specific information                                                                                            Federal:
              about them, including whether
              you already filed the returns                                                                                     State:
               and the tax years.
                                                                                                                                Local:




29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   Q Yes. Give specific information. .....
                                                                                                                               Alimony:
                                                                                                                               Maintenance:

                                                                                                                               Support:
                                                                                                                               Divorce settlement:

                                                                                                                               Property settlement:

30 Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                   Social Security benefits; unpaid loans you made to someone else

f^tNo
   Q Yes. Givespecificinformation.



 Official Form 106A/B                                                     Schedule A/B: Property                                                                        page 7
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      Debtor 1            Anabel                                               Gutierrez                                                                   Case number ii'tewui)
                             First Name            Middle Mame




    31 interests in insurance policies
          Examples: Health, disability, or life insurance; health savings account (HSA): credit, homeowner's, or renter's insurance
                No
        /a^-es. NameUieinsurance company                                        company name;                                                                  Benefician-:                                 Surrender or refund value:
                        of each policy and iist its value ...




    32 Any interest in property that is due you from someone who has died                                          i
       If you are the beneficiary of a iiving trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
       property because someone has died.
      ^EfjMo
          CJ Yes, Give specificinformation. ...........


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue

      X^No
          Q Yes. Describeeachclaim.............

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
         tq set off claims

             .J
              No
          I-I Yes. Describe each claim.




    35.Any financial assets you did not already list
      x[jNo                                                        r
               Yes. Give specific information ...........



    36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .......................................................................................................................................................   ->     <50. 00




    Part 5:             Describe Any Busisiess-Related Property You Own or Have an interest In. List any real estate in Part 1. :

    37. Do you own or have any legal or equitable interest in any business-retated property?                                                                                                                                   j
               No, Go to Part 6.                                                                                                                                                                         j
                  is. Go to line 38.
                                                                                                                                                                                                         Current value of the
                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                         fbolnotdeductseeured.claims :
s                                                                                                                                                                                                        or exemptions.

    38.Accounts receivable or commissions you already earned                                                                                                                                                                      ;
1 ^ki° ,.............,................. ",.."..._.. "......                                                                 _                    . _. ... ....... j
         -I Yes. Describe......                                                                                                                                                                                       ^

    39. Office equipment, furnishings, and supplies
         Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


         Q Yes. Describe......


    Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                pages
                Case 2:19-bk-09756-BKM                                                Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                                             Desc
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                           Anabel                                          Gutierrez
     Debtor 1                                                                                                                                      Case number (>?kmwn,
                             Firs! Name                                      Last Name




    40 Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     ^s^C
      .
          Q Yes. Describe .....


    41.inventory
            No .




          Q Yes. Describe......


    42 Interests in partnerships or joint ventures
i X^JMo
\     'D Yes,Describe....... Nameofentity:                                                                                                                                % of ownership:
                                                                                                                                                                                       -%
                                                                                                                                                                                        %

                                                                                                                                                                                        %



    43.Customer lists, mailing lists, or other compilations
    %0--No
          LJ Yes. Doyour lists includepersonallyidentifiableinformation (asdefinedin 11 U. S.C. § 101(41A))?
                         Q No
                         Q Yes. Describe....,.."


    44.Ai>y business-related property you did not already list
     x]Z3h^o
       1-3 Yes. Givespecific
                   information ........




    45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
          for Part5. Write that number here .................................................................................................................................................... -^



    Part 6:              Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                         If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     X-yf No.          Go to Part 7
                   ?es. Go to line 47.

                                                                                                                                                                                                      Current value of the :
                                                                                                                                                                                                      portion you pwn?
                                                                                                                                                                                                      :Do: not deduct secured claims
                                                                                                                                                                                                      or exemptions^ .
    47. Farm animals

          Examples: Livestock, poultry, farm-raised fish

     ?$^No
          !-1 7es..........................i




    Official Form 106A/B                                                                    Schedule A/B: Property                                                                                                  page 9
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  Debtor 1              Anabel                                              Gutierrez
                                                                                                                                                          Case number iisknwi)
                          Firs! Name                                           Last Name




48.Crops-either growing or harvested


               Yes. Give specific
               information,............|

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
  X^LNO
   ft Yes..


50 Farm and fishing supplies, chemicals, and feed
           .   No
      a Yes.


51.Any farm-and commercial fishing-related property you did not already list
               No
            Yes. Give specific
               information.............!                                                                                                                                                              $

52 Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                        $1. 00
     for Part 6. Write that number here




Part 7;               Describe All Property You Own or Have an interest in That You Did Not List Above

53 Do you have other property of any kind you did not already list?
     Exa/riples: Season tickets, country club membership

            No                             I       ~    """                                       "       "     "'                            "'                           '"           " "
                                           I                                                                                  >
            Yes. Give specific |
            information............. I                                                                                                                                                           °   S

                                           I                                                                                             s
54.Addthe dollarvalueofall ofyourentriesfrom Part7.Writethat numberhere ......................................................... ^                                                                    ^-00


Part 8;               List the Totals of Each Part of this Form


55.Part 1: Total real estatejine 2......................................................................................................................................................,   ^^       ^12, 000. 00

56. Part 2: Total vehicles, line 5                                                                                     OtOO.

57.Part 3: Total persona!and household items, line 15                                                                  ^150.00

58. Part 4: Total financial assets, line 36                                                                            W. OO


59. Part 5: Total business-related property, line 45                                                                   WO

60 Part 6: Total farm- and fishing-related property, line 52                                                           OEOO

61. Part 7: Total other property not listed, line 54                                                                 +((00

62. Total personal property. Add lines 56 through 61...................                                              | 3300. 00_I                           Copy personal property total -5" ,+ . 300. 00



63.Total of all property on Schedule A/B. Add line 55 + !ine 62.................. ....................................................................                                               S 14-300.00



 Official Form 106A/B                                                                          Schedule A/B: Property                                                                                               page 10
               Case 2:19-bk-09756-BKM                                               Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                                            Desc
                                                                                   Main Document    Page 12 of 39
 cill , n th,& .nformatio.. to .dentify you. case.
                   Anabel                                                       Gutierrez
  Debtor 1
                       First Name            Middle Name                          Last Name


 Debtor 2
 (SpO USe. iffiiing)   FsrstName             lut;-frile Name                      Last Name



                                           Phoenix             District of                    Arizona
 United States Bankruptcy Court for the:

 Case number                                                                                                                                                Q Checkif this is an
  (if known)
                                                                                                                                                                   amended filing



Official Form 106C
Schedule Cs The Property You Claim as Exempt                                                                                                                                04/16
Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on ScheduleMB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

Foreach item of property you claim as exempt, you must specifythe amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicablestatutory Umit. Some exemptions-suchas those for health aids, rights to receive certain benefits, and tax-exempt
retirementfunds-may be unlimited in dollar amount. However, if you claim an exemption of 100%of fair market value undera lawthat
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:          Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
   X~^k^gu areclaiming state and federal nonbankruptcy exemptions. 11 U. S. C. § 522(b)(3)
      U You are claiming federal exemptions. 11 U. S. C. § 522(b)(2)


 2 Forany property you list on Schedule A/Bthat you claim as exempt, fill in the information below.

       Srietd^scription of the property and lineoh                 Cufrentyalueofthe               Amount of the exemption you claim          Specific laws that allow exemption
       SchedtllieA/Bthat»sfs this property                         pprtion.youown
                                                                   Copy the.value from             Check only we t>ox for each exemption.
                                                                   Schedule A/B
                                                                  .




      Brief                                                                                                                                 522(d)(l); 522(d)(5)
      description:
                              Homestead                               $12,000                         a$
      Line from
                                                                                                 X 0<00%offairmarketvalue, upto
      Schedule A/B: 1.                                                                            /      any applicable statutory limit


      Brief
      description:
      Line from
                                                                                                      Q 100%offairmarketvalue, upto
      Schedule A/B:
                                                                                                         any applicable statutory limit

      Brief
      description:                                                                                    a$
                                                                                                      LI 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                                      any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subjectto adjustmenton 4/01/19 and every 3 yearsafter thatfor cases filed on or afterthe date of adjustment.)
   xa No
      Q Yes. Did you acquire the property covered by the exemption within 1, 215 days before you filed this case?
        a No
            U Yes


Official Form 106C                                                 Schedule C: The Property You Claim as Exempt                                                        page 1 of.
        Case 2:19-bk-09756-BKM                                  Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                      Desc
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  Fill in this nformation to dentify your case


  Debtor 1         Anabel                                                           Gutierrez
                        First Name                    Middle Name                     Last Name


  Debtor 2
  (Spouse, if filing)   Frst Name                     Middle Maine


  United States Bankruptcy Court for thephoenix                                       DistrictoA"zona
                                                                                                  (State)
  Case number
   (If known)                                                                                                                                                      Q Checkifthis is an
                                                                                                                                                                      amended filing

 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
        Q No. Checkthisboxandsubmitthisformto thecourtwithyourotherschedules.You havenothingelseto reportonthisform.
  x Q Yes. Fill !D all of the information below.


y^f^jff l-istAll SecuredClaims
                                                                                                                                  Column A              'CeiwtnS                ColsiffinC
2, : List. ail secured claims. Ifa creditor has,niore'than one secured Glaiin, list the. ci'editor separately ^iQy^^g^g,                                Vatoeof collateral     Unsecured
        foreachclaim , Ifmore than on®creditor Has a parSicMlar. daini, tistthe other credrtors in .Part 2. ' ;: Qg^ aSfsawithe                         ttet suppans ttfe      portion
        As much as possible, list the claims^:in;alphabefiGal order according'to^tbe. cretfito^^                                  vaiue'of'csiiteteai   olaim

        [he Money Source                                          Describe the property that secures the claim:                  112, 917. 00           $<pQ i-l<3? s
        Creditor's Name
                                                            Uot
    4383 N 75th Street
        Number            Street

                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  Q Contingent
    Scottsdale                       AZ       85251               01 Unliquidated
     City                             State ZIPCode               Q Disputed
   Who owes the debt? Check one.                                  Nature of lien. Check all that apply.
   01 Debtor1 only                                                     ui agreement you made (such as mortgage or secured
   Ul Debtor2 only                                                    car loan)
           Debtor 1 and Debtor 2 only                             1-1 Statutorylien (suchastaxiien, mechanic'slien)
         ^At least one of the debtors and another                 t-l Judgmentlienfroma lawsuit
                                                                  1-1 Other(includinge rightto offset)
   Q Check if this claim relates to a
      community debt
   Date debt was incurredI/14                                     Last4 digits of account numbffl_0 _7_3.
2. 2|
        :amelback Finance                                         Describe the property that secures the claim:                  9j 70. 00              E»70. 00             SB70. 00
        Creditor's Name
                                                            CMC 2012 White Subaru SUV
   2440 W Camelback Rd
        Number            Street

                                                                  As of the date you file, the claim is: Check all that apply.
                                                              Q Contingent
   Phoenix                           AZ       85015         X ^(^Unliquidated
        City                          State   ZIP Code
                                                                      Disputed
  Who owes the debt? Check one.                                   Nature of lien. Check all that apply.
          Debtor 1 only                                     y^H-An agreement you made (such as mortgageor secured
   1-1 Debtor2 only                                          /.
                                                                car loan)
   a Debtor1 andDebtor2 only                                      Q Statutorylien (suchastaxlien, mechanic'slien)
   Ul At leastone ofthe debtors and another                       U Judgment iien from a lawsuit
                                                                  Q Other(includinga rightto offset)
   01 Check if this claim relates to a
          community debt
   Date debtwasincurrefl2/16_                                     Lasi4 digitsof accountnumber
        Add the dollarvaiuaof your entries in Column A on this page:Write that number here:                                         2 087.00


   Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of.
               Case 2:19-bk-09756-BKM                                 Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                  Desc
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 Debtor i                 Anabel                                                                           Gutierrez                                                                                                   Case number (liknown)
                               First Name                                                                    Last Nsms




                       Additional Page                                                                                                                                                                                                 OotumnA^^           WumnB            ^ Cohmn C
                                                                                                                                                                                                                                       Amount sf claim     Value ef cuttatwal     Unsacwed
part                   Afterlistinganyentriesonthispage,numberthembeginningwith2.3,followed                                                                                                                                            De'notAdudfte" that'su^m'this p&riwi'
                       by 2.4, and so forth.                                                                                                                                                                                           value sfsetetsfal   etoim                  ifail>

     yatt Car Co.                                                                                            Describe the property that secures the claim:                                                                           5913.00               5913. 00             5^13. 00
    Creditor's Name

   4827 N. 27thAve


                                                                                                             As of the date you file, the claim is: Check all that apply.
   Phoenix                                                  AZ               85017                           U Contingent
    City'                                                       State         ZIP Code                               Unliquidated
                                                                                                             a Disputed
  Wbo owes the debt? Check one.                                                                              Nature of lien. Check all that apply.
      _ Debtor 1 only                                                                                                An agreement you made (such as mortgage or secured
  Q Debtor2 only                                                                                                     car loan)
  Q Debtor 1 and Debtor 2 only                                                                               LI Statutorylien (suchastaxlien, mechanic'slien)
  LJ At least one ofthe debtors and another                                                                  1-1 Judgmentlienfroma lawsuit
                                                                                                             Li Other(includinga righttooffset)
  Q Check if this claim relates to a
       community debt

  Date debtwas incurrefi2/16                                                                                 Last 4 digits of account number _0 _4_3

    Bonn'sAppliances                                                                                                                                                                                                                 4<j17. 00             ^17. 00          ^17.00
    Crfiditof's        Name

                                                                                                      Bumiture
   P.O. Box 815867
    Number                        Street

                                                                                                             As of the date you file, the claim is: Check all that apply
                                                                                                        Q Contingent
   Dallas                                                  TX                75234                     XQ Unliquidated
    City                                                       State          ZIP Code
                                                                                                        0 Disputed
  Who owes the debt? Check one.                                                                              Nature of lien. Check all that apply.
X Ql Debtor1 only                                                                                            a Anagreementyou made(suchas mortgageorsecured
  LJ Debtor2 only                                                                                                    car loan)
  LJ Debtor 1 and Debtor 2 only                                                                              Q Statutory lien (such as tax lien, mechanic's lien)
  Q At least one ofthe debtors and another                                                                   Q Judgmentlienfroma lawsuit
                                                                                                       .
                                                                                                           ^ Q Other (including a right to offset)
  Q Check if this claim relates to a
    community debt
  Date debtwas incurrefi6/2017                                                                               Last 4 digits of account number _4 _3_0

                                                                                                             Describe the property that secures the claim:
    Creditor's Name



                                  Street



                                                                                                             As of the date you file, the claim is: Check all that apply.
                                                                                                             Q Contingent
    City                                                       State          ZIP Code                       D Unliquidated
                                                                                                             LJ Disputed
  Who owes the debt? Check one.                                                                              Nature of lien. Check all that apply.
  Q Debtor1 only                                                                                             Q Anagreementyou made(suchas mortgageorsecured
  Q Debtor2 only                                                                                                    car ioan)
  Q Debtor 1 and Debtor 2 only                                                                               (-1 Statutory lien (such as tax lien, mechanic's lien)
  D At least one ofthe debtorsand another                                                                    Q Judgmentlien froma lawsuit
                                                                                                             Lt Other(includinga rightto offset)
  Q Checkif this claim relatesto a
       community debt
  Date debt was incurred _                                                                                   Last4 digits of account number

                Add the dollar valuaofyour entries in Column A on this page. Write that number ti
                If this is the last page of your form, add the dollar value totals from at!pages.
            .
                Write. thatnumbierhere:,................................... . ",...................... ........................................... . "............................................................................
   Official Form 106D                                                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 pagfi_dS
            Case 2:19-bk-09756-BKM                                                                                 Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                                                                      Desc
                                                                                                                  Main Document    Page 15 of 39
      Fill in this informa ion to identify your case

                       Anabel                                           Gutierrez
      Debtor 1
                         First Name             Midcle Name              Lasi Mama


      Debtor?
      (Spouse, if filing) First Name            MiddleName

      United States Bankruptcy Court forthe:    Phoenix                   Districtof Arizona
                                                                                     (State)                                                  [-.3 Checkifthis is an
      Case number
      (If known)                                                                                                                                 amended filing


 Official Form 106E/F
 Schedule E/Fs Creditors I ho                                             ave Unsecured CEaims                                                              12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to anyexecutory contracts or unexpired leases that could result in a claim. Also list executorycontracts on Schedule
 A/B: Property (Official Form 106A/B)and on ScheduleG: Executory Contracts and Unexpired Leases(Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page, On the top of
 any additional pages, write your name and case number (if known).

 Part               List All of Your PRIORITY Unsecured Claims

 1. Dg any creditors have priority unsecured claims against you?
      ^sUo. Goto Part2.
       <3 Yes,
 2;.. ysf all'of yourpF     ioj'ity'unsecpred. claims. tf s creditor has: more itt^n one priORty. unsecured. e^^
        each:clarm listed, identify what type:of:elaimit is. If a^claim. has both:priority and nonpriQrityamdunts,:]iSt^
         ncinpricintyamounts. Asmucb as possible, 'tistthe^claims:ri;aiphab6tiGalorder according%lhe\creditor:s rams. Ifyou:tiavemore;1han^t^ :
  .   ;; unsecuredciaimsrfitl out the Continuation;Pageof Part 1:1fmore thanone creditor. holdsa particulareiai^^
        (Fpran:explanation:of eachtype:of:clairH/se@the:instructiQns:for          isfonriintheinstructiQri booklet. ). ', :/^^^        ; ' . :. ::, ;;: .' :. .. ^, ':
                                                                                                                              Totaf elairn  Priori         Monpriority
                                                                                                                                            amount        amount

2.1
                                                                Last 4 digits of account number _ _ _ _ s
           Priority Creditor's Name
                                                                When was the debt incurred?
           Number           Street

                                                                As of the date you file, the claim is: Check all that apply

           City                         State   ZIP Code
                                                                -1 Contingent
                                                                Lj Uni.quidated
           Who incurred the debt? Check one
                                                                01 Disputed
           Q Debtor 1 only
           Q Debtor2 only                                       Type of PRIORITVunsecured claim:
           Q Debtor 1 and Debtor 2 only                          Q Domestic support obligations
           Q At leastone ofthedebtors andanother
                                                                 Q Taxes and certain other debts you owe the government
           Q Checkif this claim is for a community debt          Q Cla'ms for death or personal injury while you were
                                                                    intoxicated
           Is the claim subject to offset?
           a No                                                  Q Other. Specify
           a Yes
w                                                               Last4 digits of account number _ _ _ _ 5
           Priority Creditor's Name
                                                                When was the debt incurred?
           Number           Street
                                                                As of the date you file, the claim is: Check all that apply
                                                                -I Contingent
           City                         State   ZIPCode         a Unliquidated
           Who incurred the debt? Check one.                    Q Disputed
           [-1 Debtor1 only
                                                                Type of PRIORITYunsecured claim:
           Ql Debtor2 only
                                                                LJ Domesticsupportobligations
           Q Debtor 1 and Debtor 2 only
           Q At leastone ofthe debtors and another              Q Taxes and certain other debts you owe the government
                                                                0 Claimsfordeathor personalinjurywhileyouwere
           LI Checkifthis claim is for a community debt             intoxicated

           Is the claim subject to offset?                      Q Other Specify
           a No
           a Yes

Official Form 106E/F                                                                                                                               page 1 of4_
            Case 2:19-bk-09756-BKM Schedule
                                     Doc 7E/F: Creditors Who Have Unsecured Claims
                                               Filed 08/05/19        Entered 08/06/19 09:46:38                                                     Desc
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                     Anabel                               Gutierrez                                          Case number '. a kn
  Debtor 1
                      Firs! Name                           Last Name



  Part 2:            List All of Your NOMPRIORITYUnsecured Claims

  3. Do anycreditors have nonpriority unsecured claims againstyou?
       t-I No. You have nothing to report in this part. Submit this form to the court with your otherschedules.
      yQ Yes
  4, ; List all of your n6npriorityynse(Mredyainis In the alphabefjcatorter of th^ creditor who:hoM
       ;r>bnpF iority unsecured claim, tist the . creditbrseparatefy for eaph claim. For each clairo listed, identify:what type of cla|m::it[&^
                                                                                   :

       :indude:d in Part 1. If rnorethan one creditor hotds a partiGular claim;jist: the. other creditors in Part;3^^^
        claims fill oyttheGontinugtion:Pa£|eOf.Part2.;, .;:.. :. ..... : : ::'^. ..;";. ' .. ::, ;, ;:. ;.                 :. ; ^. ; ; -::: : . :/', . : ;;':^ . : : ^


4.1      AZ Federal
                                                                                       Last 4 digits of account number                                           511.00
         Nonpriority Creditor's Name
                                                                                       When was the debt Incurred?             12/14
         PO BOX 60070
         Number            Street

         Phoenix                                     AZ                85008
         City                                         State            ZIP Cod         As of the date you file, the claim is: Checkall thatapply.
                                                                                   xi2 Contingent
         Who incurred the debt? Check one.                                                 Unliquidated
       :?fJ&-Bebtor 1 only                                                             -J Disputed
        ^-l Debtor 2 only
         D Debtor1 and Debtor2 oniy                                                    Type of NONPRiORITYunsecured claim:
         -I At least one ofthe debtors and another                                     Q Student loans
         D Check if this claim is for a community debt                                 Q Obligationsarisingoutofa separationagreementordivorce
                                                                                           that you did not report as priority claims
         Is the claim subject to offset?                                               LJ^Debts to pension or profit-sharing plans, and other similar debts
       ^-No                                                                                Other. Specify
         a Yes

                                                                                       Last4 digitsof accountnumber 6               3_ 1_4_                    S 233.00
         AFNI,Inc.
         Nonpriority Creditors Name                                                    When was the debt incurred?             1/2019

         PO BOX 3097
         Number            Street

                                                                       61702           As of the date you file, the claim is: Check all that apply.
         Bloomington                                 IL
         City         i^                              State            ZIPCode     XQ Contingent
         Who incurred the debt? Check one.                                          LJ Unliquidated
                                                                                       Q Disputed
       Xy Debtor 1 only
        (3~5ebtor 2 only
                                                                                       Type of NONPRIORIFCunsecured claim:
         Q Debtor1 and Debtor2 only
         [J At least one ofthe debtors and another                                     -i Student loans
                                                                                       [.I Obligationsarisingoutofa separationagreementordivorce
         U Check if this claim is for a community debt                                     that you did not report as priority claims
             the claim subject to offset?
                                                                                    Q Debtsto pensionor profit-sharingplans, andothersimilardebts
                                                                                   XQ Other.Specify


         Ro ersAcce tance                                                              Last 4 digits of account number 3 _ 9_4__ _9_                             2,018.00
         Nonpnority Creditor's Name
                                                                                       Whenwasthe debt incurred? 12/2014
         3925WAdams_St#l
         Number            Street

         Phoenix                                     AZ                85009           As of the date you file, the claim is: Check all that apply.
         City                                         State            ZIPCode
                                                                                           Contingent
         Who incurred the debt? Check one.
                                                                                       01 Unliquidated
                Debtor 1 only                                                          Q Disputed
         Q Debtor 2 only
         Q Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITYunsecured claim:
         Q At least one of the debtors and another
                                                                                       Q Student loans
         Q Check if this claim is for a community debt                                 Q Obiigations arising out ofa separation agreement ordivorce
                                                                                           that you did not report as priority claims
         Is the claim subject to offset?
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
                No                                                                          )ther. Specify
                ^



      Official Form 106E/F
             Case 2:19-bk-09756-BKM                           Schedule EIF: Creditors Who Have Unsecured Claims
                                                                Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                 Descpag^_ol4_
                                                               Main Document    Page 17 of 39
                       Anabel                             Gutierrez
  Debtor 1                                                                                                 Case number [iiifmw-i]
                        First Name                         Last Name



      Part           Your NONPRIORITY Unsecured Claims - Continuation Page



  After listing any entries on this page, number :them beginrang with 4. 5;foll                                                                            Total claim


4.4
                                                                                         Last 4 digits of account number
             Nonpriority Creciiloi-'s Name
                                                                                         When was the debt incurred?


                                                                                         As of the date you file, the claim is: Check all that apply.
         City                                           State          ZIPCode           -1 Contingent
                                                                                         Q Unliquidated
         Who incurred the debt? Check one.                                               Q Disputed
             1-] Debtor1 only
             Q Debtor2 only                                                              Type of NONPRIORITVunsecured claim:
             Q Debtor1 and Debtor2 only                                                  L-l Studentloans
             Q At least one ofthe debtors and another                                    Q Obligationsarisingoutofs separationagreementordivorcethat
                                                                                             you did not report as priority claims
         Q Checkifthis claim is for a community debt
                                                                                         Q Debtsto pensionor profit-sharingplans, andothersimilardebts
         Is the claim subject to offset?                                                 Q Other.Specify.
         Q No
         a Yes



                                                                                         Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                         When was the debt incurred?

         Number               Street
                                                                                         As of the date you file, the claim is: Check all that apply.

         City                                           State                            Q Contingent
                                                                                         Q Unliquidated
         Who incurred the debt? Check one                                                Q Disputed
         1-1 Debtor1 only
         Q Debtor2 only                                                                  Type of NONPRIORITYunsecured claim;
         Q Debtor1 andDebtor2 only                                                       Q Student loans
         Q At least one ofthe debtorsand another
                                                                                         Q Obligationsarisingout ofa separationagreementordivorcethat
                                                                                             you did not report as priority claims
         Q Check if this claim is for a community debt
                                                                                         Ql Debtsto pensionor profit-sharingplans, andothersimilardebts
         Is the claim subject to offset?                                                 Q Other. Specify
         a No
         a Yes


                                                                                         Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                         When was the debt incurred?

         Number               Street
                                                                                         As of the date you file, the claim is: Check all that apply.

         City                                           State                            a Contingent
                                                                                         a Unliquidated
         Who incurred the debt? Check one.
                                                                                         L] Disputed
         Q Debtor1 only
         Q Debtor2 only                                                                  Type of NONPRIORIT/'unsecured claim:
         d Debtor1 and Debtor2 only                                                      Q Studentloans
         Q At leastone ofthe debtors andanother                                          Q Obligationsarisingout ofa separationagreementordivorcethat
                                                                                             you did not report as priority claims
         [-1 Check if this claim is for a community debt
                                                                                         Q Debtsto pensionor profit-sharingplans, andothersimilardebts
         is the claim subject to offset?                                                 Q Other.Specify
         a No
         Q Yes




      Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                         pagS-__ oft_
              Case 2:19-bk-09756-BKM                              Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                        Desc
                                                                 Main Document    Page 18 of 39
      Fill in this pformation to identify        ou case

                                                                        Gutierrez
      Debtor           Anabel
                           First Name               Middie Name           Las; Name


      Debtor 2
      (Spouse If filing)   First Name               Miclciie Name         Last Name



      United States Bankruptcy Court for the:
                                                 Phoenix
                                                                         DistrictoArizona
                                                                                      (State)
      Case number
      (If known)                                                                                                                              Q Checkifthis is an
                                                                                                                                                  amended filing


    Official Form 106G
    Schedule Gs Executory Contracts and Unexpired Leases                                                                                                   12/15

    Be as complete and accurateas possible. Iftwo married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copythe additional page, fill it out, numberthe entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


     1, Do you have any executory contracts or unexpired leases?
                   to. Checkthisboxandfilethisformwiththecourtwithyourotherschedulfes.Youhavenothingelsetoreportonthisform.
            tJ Yes. Fill in all of the information below even if the contracts or leases are li'sted on Schedule A/B: Property (Official Form 106A/B).

     2. List separately each person or companywithwhom you have the contract or lease. Then state whateach contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction bookletfor more examplesofexecutory contracts and
            unexpired leases.



            PersoiTOrcpmpanywith whom you have the contract or lease                                State what the cpntract pr lease is for


.   2. 1^
            Name


            Number            Street


            City                                State      ZIP Code

. 2. 2|
            Name


            Number            Street


            City                                State      ZIP Code
    2.3
            Name


            Number            Street


            City                                State      ZIP Cade

    2.4
            Name


            Number            Street


            City                                State      ZIP Code

    2.5
            Name


            Number            Street


            City                                State      ZIP Code


    Official Form 106G           ScheduleDoc
                                          G: ExecutoryContracts^and-llnexpiredLeases 08/06/19 09:46:38                                              page 1 of.
             Case 2:19-bk-09756-BKM            7 Filed    08/05/19 Entered                                                                          Desc
                                      Main Document              Page 19 of 39
 Fill n th s nformation to identify your case


 Debtor1             Anabel
                        First Name                       MHdle Nama              Lsst Name


 Debtor 2
 (Spouse, if f'. ng) First Name                          MkJdle Name             Lest Name


                                                  Phoenix
 United States Bankruptcy Court for the:                                         DistrictoA"zona_
                                                                                             (SteieT-^
 Case number
  /If knowni
                                                                                                                                                     LI Checkif this is an
                                                                                                                                                         amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entitieswho are also liablefor anydebts you may have. Be as complete and accurate as possible. Iftwo married people
are filing together, both are equally responsiblefor supplying correct information. If more space is needed, copy the Additional Page,fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.


 1. Do.you haveanycodebtors? (Ifyou are filing a joint case, do not list eitherspouse as a codebtor.)
              No
    a Yes
 2. Withinthe last 8 years, haveyou lived in a community propertystate or territory? {Communityproperty states andterritories include
      Arizona. California. Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin,)

      ^Mo. Gotoline3,
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              Q No
              1-1 Yes. In which community state or territory did you live?                                 Fill in the name and current address of that person.


                     Name of your spouse, former spouse, or legal equivaient


                     Number



                     City

 3 In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 againas a codebtoronly if that person is a guarantoror cosigner. Makesure you have listed the creditoron
      ScheduleD (Official Form 106D), Schedule E/F(Official Form 106E/F),or ScheduleG (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fii! out Column 2.

       .
           Qolumn "f;Yourcodebtor                                                                                 Go/umn 2; The creditor towhom you owe the debt

                                                                                                                  C:heck;all 5Ghedules;ttiataRply:;. .. , ., .   ;   :.

3.1
                                                                                                                   Q Schedule D, line.
            Name
                                                                                                                   a ScheduleE/F, line.
                              Street                                                                               01 Schedule G, line

            cry                                                         State

3.2
                                                                                                                   a Schedule D, line
            Name
                                                                                                                   d Schedule E/F, line
            Number                                                                                                 Q Schedule G, line

           . "&'"                                                       S'ate                    ZIPCode

3.3
                                                                                                                   a Schedule D, line
            Name
                                                                                                                   a Schedule E/F, line
            Number                                                                                                 Q Schedule G, line.

            c'iv                                                        Slate



                                                                                                                                                           page 1 of.
Official Form 106H
           Case 2:19-bk-09756-BKM                                       Doc 7 Schedule
                                                                                 FiledH:08/05/19
                                                                                         Your Codebtors
                                                                                                       Entered 08/06/19 09:46:38                           Desc
                                                                       Main Document          Page 20 of 39
  Fill n this inforwation to identify your case


                                                                   Gutierrez
  Debtor1          Anabel
                      First Name                Middla Mama          Last Name


  Debtor 2
  (Spouse, if filing) Fiist Name                Middle Name          Lasl Name

                                            Phoenix                                Arizona
  United States Bankruptcy Court for the:                            District cf
                                                                                        (State)
  Case number                                                                                                       Check if this is:
  (If known)
                                                                                                                     Q An amendedfiling
                                                                                                                     (-I A supplementshowingpostpetition chapter13
                                                                                                                         income as of the following date:
Official Form 1061                                                                                                       MM / DD / YYYY

Schedule Is Your Inco e                                                                                                                                           12/15

Be as complete and accurate as possible, Ifhwo married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part              Descri&e Employment


 1. Fill in your employment
     information.                                                          Debtoit-f^':''\^, '^-'                                   Debtor? or non-filirtg spouse

    Ifyou have more than one job,
    attach a separate page with
    information about additionai              Employment status                  Employed                                           Q Employed
    employers.                                                           '.-I Not employed                                          LJ Not employed
     Include part-time, seasonal, or
    self-employed work.                                             Manager
                                              Occupation
    Occupation may include student
    or homemaker, if it applies,
                                                                    Great Clips
                                              Employer's name

                                              Employer's address    14175 W. Indian School Road
                                                                       Number Street                                              Number   Street
                                                                    SteB3




                                                                    Goodyear                AZ            85395
                                                                       City                       State    ZIP Code               City                State   ZIP Code

                                              How long employed there?        2 Years


is Part 2:          Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the inforrpiation for all employers for that person on the lines
    below. Ifyou need more space, attach a separate sheet to this form.              ^^^
                                                                                                               For Debtor!        For Debtor 2 or
                                                                                                                                  non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions), If not paid monthly, calculate tA/hat the monthly wage would be.                 2.           920. 00
                                                                                                           ,
                                                                                                                                     $

 3. Estimate and list monthly overtime pay.                                                       3,   +$                        +s

 4. Calculate gross income. Add line 2 + line 3,                                                  4.      ip,920. 00                 ^00



Official Form 1061                                                 Schedule I: Your Income                                                                    page 1
        Case 2:19-bk-09756-BKM                             Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                              Desc
                                                          Main Document    Page 21 of 39
             Anabel                               Gutierrez
Debtor 1                                                                                          Case number iji known}
                                                   Last Nsfrse



                                                                                              For Debtor 1                 ForDebtorZor
                                                                                                                           non-filinq spouse

   Copy line 4 here                                                              .
                                                                                     -S'4.    ^,920.00
5. List all payroll deductions:

     5a Tax, Medicare, and Social Security deductions                                  5a.    ^56.00
     5b. Mandatory contributions for retirement plans                                  5b.    $

     5c. Voluntary contributions for retirement plans                                  5c.    $

     5d Required repayments of retirement fund loans                                   5d.    $

     5e Insurance                                                                      5e.    $

     5f. Domestic support obligations                                                  5f.    $

     5g. Union dues                                                                    5g.
     5h. Other deductions. Specify:                                                    5h. +s                              +

                                                                                              ^56. 00                          ). 00
 6. Add the payroll deductions. Add lines 5a+ &b+5c + 5d + 5e +5f + 5g + 5h.            6.

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                 y     ^, 564. 00                       §-°°

 8. List ail other income reguiarly received:
    8a. Net income from rental property and from operating a business,
        profession, or farm
        Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the totai g
           monthly net income.                                                         8a,
     Sb. Interest and dividends                                                        8b. $
     8c, Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Includealimony,spousalsupport,childsupport, maintenance,divorce g
           settlement, and property settlement.                                        8c.
    8d. Unemployment compensation                                                      8d. S
     8e. Social Security                                                               8e.    S_
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplementa!
         Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                    8f.    S-
     3g, Pension or retirement income                                           ^.--8g--^$-                                    $


     8h. Other monthly income. Specify:                                                8h. +§                              +$
 9. Add at! other income. Add lines 8a + Sb + 8c + ) i+8e+ 8f+8g +8h.                   9.    ^. 00                            S.oo

10.Calculate monthly income. Add line 7 + line 9.                                             ^, 564. 00                       ;). oo              564. 00
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.           10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                      11, + $

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income                               564. 00
    Write that amount on the Summary of Your Assets and Liabltities and Certain Statistical Information, if it applies                     12,
                                                                                                                                                  Combined
                                                                                                                                                  monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     a No.
  X !_I Yes. Explain:

 Official Form 1061                                              Schedule 1: Your income                                                            page 2
       Case 2:19-bk-09756-BKM                           Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                           Desc
                                                       Main Document    Page 22 of 39
     Fill in this inf r         tion to identify you case-

     Debtor 1        Ajiabel                                              Gutierrez
                        First Naina                Midtife Name              Lnst Name                               Check if this is:
     Debtor 2
     (Spouse, if filing) First Nama                Midciie Name
                                                                                                                     Q An amended filing
                                                                                                                     Q A supplement showing postpetition chapter 13
     United States Bankruptcy Court for the:
                                             . Phoenix
                                                                             District^rizona                            expenses as of the following date:
                                                                                          (Stale)
     Case number                                                                                                        MM / DD / WYY
     (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                                 12/15

Be as complete and accurate as possible. Iftwo married peopleare filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of anyadditional pages, write your name and case number
(if known}. Answer every question.

    Part              Describe Your Household


1. Is this a joint case?

           -No. Go to line 2.
      [-1 Yes Does Debtor 2 live in a separate household?
                  a No
                  01 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2     Do you have dependents?                    a. No                                        Dependent's relationship to                     Dependent's     Does dependent live
      Do not list Debtor 1 and                       Yes. Fill out this information for       Debtor 1 or Debtor 2                            age             with you?
      Debtor 2.                                      each dependent,
                                                                                         Daughter                                        13                 ^ 1-1 No
      Do not state the cfependents'                                                                                                                         l^fes
      names.

                                                                                         Daughter                                        11                   a No
                                                                                                                                                            SS[Yes
                                                                                         Daughter                                                             g No
                                                                                                                                                            ^0-es
                                                                                                                                                              a No
                                                                                                                                                              a Yes
                                                                                                                                                              Q No
                                                                                                                                                              a Yes

     Do your expenses include                  ^J ^No
     expenses of people other than
     yourself andyour dependents? ^-* vYes
                   Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. Ifthis is a supplemental ScheduleJ, checkthe boxat the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you knowthe value of
suchassistanceandhaveincludedit onSchedute/;YourIncome(OfficialForm1061.)                                                                        Yourexpenses ;
    4. The rental or home ownershipexpenses for your residence. Includefirst mortgage paymentsand
       any rent for the ground or lot.                                                                                               4.
        If not included in fine 4:
        4a. Real estate taxes                                                                                                        4a. S
        4b. Property, homeowners, or renter's insurance                                                                       .      4b. $
        4c. Home maintenance, repair, and upkeep expenses                                                                            4c, $
        4d. Homeowner's association or condominium dues                                                                              4d. $

     Official Form 106J                                               Schedule J: Your Expenses                                                                        page 1
            Case 2:19-bk-09756-BKM                                 Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                              Desc
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                  Anabel                         Gutierrez
 Debtor 1                                                                                   Case number (if*nown)
                    First Name                      Last Name




                                                                                                                                Your expenses:


 5. Additional mortgage payments for your residence, such as home equity loans

 6     Utilities:
       6a. Electricity, heat, natural gas                                                                           6a.     '8)0. 00

       6b. Water, sewer, garbagecollection                                                                          6b.     s

       6c    Telephone, cell phone, Internet, satellite, and cable services                                         6c.     yo. oo
       6d. Other. Specify:                                                                                          6d.     $


 7     Food and housekeeping supplies                                                                               7.      -^)0. 00
 8     Childcare and children's education costs                                                                     s.      ^00. 00
 9. Clothing, laundry, and dry cleaning                                                                             9.      i?. oo
10 Personal care products and services                                                                              10.     s

11.    Medical and dental expenses                                                                                  11.     $

12. Transportation, hclude gas, maintenance, bus or train fare.                                                             ^30.00
       Do not. include car payments.                                                                                12

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.     y.oo
14.    Charitable contributions and religious donations                                                             14.


15     Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                          15a.    $

       1 Sb, Health insurance                                                                                       1 Sb.   s

       i5c. Vehicle insurance                                                                                       1Sc.    ^98. 00
       l5d. Other insurance. Specify:                                                                               15d.    s


16. Taxes. Do not include taxes deducted from your pay or included in iines 4 or 20.
       Specify:                                                                                                     16.

17     Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                              17a.    $


       l7b. Car payments for Vehicle 2                                                                              17b.    s


       l7c. Other. Specify:                                                                                         17c.    s


       17(1. Other. Specify:                                                                                        17d.    $


18 Your payments of alimony, maintenance, and support that you did not report as deducted from
   your pay on line 5, Schedule I, Your Income (Officia! Form 1061).                                                 18,


19 Other payments you make to support others who do not live with you.
      Specify:                                                                                                       19.

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                             20a.

       20b. Real estate taxes                                                                                       20b.

       20c. Property, homeowner's, or renter's insurance                                                            20c,
       20d. Maintenance, repair, and upkeep expenses                                                                20d.

       20e. Homeowner's association or condominium dues                                                             20e.




     Official Form 106J                                         Schedule J: Your Expenses                                                        page 2
          Case 2:19-bk-09756-BKM                       Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                      Desc
                                                      Main Document    Page 24 of 39
 Debtor 1
                Anabel                           Outien-ez
                                                                                              Case number w iwc.wa}
                  First Mama    Midste Name        Last Mame




21.    Other Specify:                                                                                                 21.   +$


22     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                               22a.      s2,903.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b. $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.      ^, 903. 00


23. Calculate your monthly net income.
                                                                                                                                 t. OO
      23a. Copy !ine 12 (your combined monthly income) from Schedule I.                                           23a.

      23b.    Copy your monthly expenses from line 22c above.                                                     23b. -^903. 00

      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.
                                                                                                                             ^,339.00
              The result is your monthly net income.




24. Do you expect an increaseor decrease in your expenses withinthe yearafter you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

 XQ No.
  a Yes.            Explain here:




     Official Form 106J                                        Schedule J: Your Expenses                                                   page 3
             Case 2:19-bk-09756-BKM                     Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                   Desc
                                                       Main Document    Page 25 of 39
   E:ill , n this information .0 identify you. -as-;

                                                                                Gutierrez
    Debtor 1      Anabel
                       First Name                 Middle Name                     Last Name


    Debtor 2
   (Spouse, if filing) FirsfNsme                  Middle Name                     Last Nsme


                                                                                        Arizona
    United States Bankruptcy Court for the:   phoemx            Districtof
   Case number
   (If known)                                                                                                                               1-1 Check if this is an
                                                                                                                                               amended filing



  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                         04/16

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


   Part 1:        Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        1-j Married
     ^typt married
   2. During the last 3 years, have you lived anywhere other than where you live now?
     ^No
       Q Yes. Listall oftheplacesyou lived in the last 3 years. Do not includewhereyou live now.
               Debtor 1:                                                     Dates DeBtoi-1       Debtor2:                                       Dates Debtor 2
                                                                             liyedthere                                                          lived there


                                                                                                  [-1 Same as Debtor 1                          Q Same as Debtor 1

                                                                         From                                                                      From
                Number              Street                                                           Number Street
                                                                         To                                                                        To



                City                           State ZIP Code                                        City                State ZIP Code

                                                                                                  Q Sameas Debtor 1                            Q Sameas Debtor 1

                                                                         From                                                                      From
                Number              Street                                                           Number    Street
                                                                         To                                                                        To



                City                           State ZIP Code                                                            State   ZIP Code



   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

     xa No
      Q Yes. Makesureyou fill out ScheduleH: YourCodebtors(OfficialForm 106H).


   Part 2: Explain th®Sources of Your Income
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 1



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                                                                Main Document    Page 26 of 39
Debtor 1   Anabel                                 Gutierrez                                                 Case number wknown}




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the tota! amountof income you received from all jobs and all businesses, including part-time activities.
    Ifyou are filing a joint case and you have income that you receive together, list it only once under Debtor 1
     a No
   ^h^s . Fill in the details.

                                                         Sources of income             Gross income                  Sources of income          Gross income
                                                         Checkall thatapply            (beforecleductions and .CIfeCK.altthgtapply.             . (be'to.rede'dtfctionssRd^
                                                                                       sxclysions}:                                               ;exclusinns) .

                                                        :?Q Wages, commissions,                                      Q Wages, commissions,
           From January 1 of current year until                                            S                             bonuses, tips
                                                              bonuses, tips
           the date you filed for bankruptcy:
                                                         Q Operating a business                                      1-1 Operating a business

                                                        ?a Wages, commissions.                                       Q Wages, commissions,
           For last calendar year:
                                                            bonuses, tips              ^6819. 96                         bonuses, tips
           (January1 to Decembers?,018                 ) Ql Operating a business                                     Q Operating a business
                                      YYYY



                                                        ?Q Wages,commissions,                                        I-I Wages, commissions,
           For the calendaryear before that:
                                                              bonuses, tips            2il. 846. 98                      bonuses, tips
           (January1 to December3?,017                   01 Operating a business                                         Operating a business
                                      YYYY



 5. Did you receive any other income during thisyearor the two previous calendaryears?
    Includeincome regardlessofwhetherthat income is taxable. Examplesof otherincomeare alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. Ifyou are filing a joint case and you have income that you received together, list it only once under Debtor 1,
     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

   T^LNO
     Q Yes. Fill in the details.
                                                                                                                      Debtor 2

                                                         Sources of income                 Gross ineBmefroiirt        Sources of income          Gross income from
                                                         Begcnbe'beJow;                    eE ichsourcf               Describe below. .         aiichs.CH.iree
                                                                                           (befor6deductlon@'a:na                               {before deauefions and
                                                                                       exclusions) ,
                                                                                       .
                                                                                                                                                6w|us)bns)



           From January 1 of current year until
           the date you filed for bankruptcy:

                                                                                   $


                                                                                   s
           For last calendar year:

           (January 1 to December 31,




           For the calendar year before that:

           (January 1 to December 31 ,          _ _)
                                         YYYY




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2


       Case 2:19-bk-09756-BKM                           Doc 7 Filed 08/05/19 Entered 08/06/19 09:46:38                                                  Desc
                                                       Main Document    Page 27 of 39
Debtor1     Anal)el                                     Gutierrez                                    Case number '. iiknown'!
               F;rst Name                                 Last Name




  Part 3-     List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     Q No. NeitherDebtor1 nor Debtor2 has primarilyconsumerdebts. Consumerdebtsaredefinedin 11 D.S. C. § 101(8)as
               "incurred by an individual primarily fora personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 425* or more?

               Q No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6, 425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       o. Go to line 7.


               Q Yes. Listbeloweachcreditorto whomyou paida total of$600or moreand thetotal amountyou paidthat
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                         Dateisof     Total amount paid          Amount you still owe   Was (Mis payinentfor...
                                                                         payment



                                                                                                                                        [-1 Mortgage
                       Creditor's Name
                                                                                                                                        Dear
                       Number     Street
                                                                                                                                        1-1 Creditcard
                                                                                                                                        01 Loanrepayment
                                                                                                                                           Suppliers or vendors

                                             State
                                                                                                                                        LI Other
                       City


                                                                                                                                        Q Mortgage
                       Creditor's Name
                                                                                                                                        a Car
                       Number     Street
                                                                                                                                        1-1 Creditcard
                                                                                                                                        D Loan repayment
                                                                                                                                        1-1 Suppliers or vendors
                                                                                                                                        Q Other
                       City                  State            ZIPCode




                                                                                                                                        LI Mortgage
                       Creditor's Name
                                                                                                                                        a Car
                                                                                                                                           Credit card
                       Number     Street

                                                                                                                                        [-1 Loanrepayment
                                                                                                                                        1-1 Suppliers or vendors
                                                                                                                                        Q Other
                       City




Official Form 107                                    Statement of FinancialAffairs for Individuais Filing for Bankruptcy                            page 3



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Debtor1    Anabel                                Gutierrez
                                                                                                  Case number (ifmown)
                  F:rst Name                      Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U. S. C. § 101. Include payments for domestic support obligations,
     such as child support and alimony,


   ^      'es. List all payments to an insider
                                                                Datesof       Total amount          Amountyou still      Reasonfor this payment
                                                                payment       paid                  owe



           Insider's Name




           Number        Street




           City                          State    ZIP Code




           Insider's Name



           Number        Street




          City                           StaSe    ZIP Code



     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

   A°
     D Yes. List all payments that benefited an insider.
                                                               Dates of           Total; amounf     fttnOMrityoustili    Rea^oh for ttjis payment
                                                               paymenf            paid              owe
                                                                                                                         tnclude creditbr's ifaffle


                                                                              s
          Insider's Name




          Number         Street




          City                          Staie     ZIP Code




          Insider's Name




          Number         Street




          City                          Stale    ZIP Code




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Debtor 1
                 Anabel                                 Gutierrez                                             Case number wknowaf
                                                         Lsst Name




  Part 4:           Identify Legal Actions, Repossessions, and Foreclosures
 9 Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, smalt claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

               No
           .   Yes. Fill in the details.

                                                                   Nature of the case                    Court t>ragency                               SfirtMS. ofthe case

                                                              Civil Suit from Car Accident           MaricopaCounty SuperiorCourt
                CasetitlVlisesM-Alarco"                                                               I Court Name
                                                                                                                                                      XQ Pending
                                                                                                                                                       LJ On appeal
           Vs. Anabel Gutierrez, Et. al                                                              3(1)1 W. Jefferson Street
                                                                                                       Number    Street                                Q Concluded
                Casenumbe<?V2018-005034                                                              Phoenix                AZ           85003
                                                                                                      !City                      State    ZIP Code



                                                              Civil Suit from Car Accident           MaricopaCounty SuperiorCourt
                Casetiti^mericanAccessCasualtyCompanyvs.                                              'Court Name
                                                                                                                                                      XQ Pending
                                                                                                                                                       Q Onappeal
           Anabel Gutierrez, Et. al                                                                  301 W. Jefferson Street
                                                                                                      ! Number   Street                                [-I Concluded

                Casenumb^V2018-098095                                                                Phoenix                AZ           85003
                                                                                                      ICity                      State    ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

               No, Go to line 11.
               'es. Fill in the information below.


                                                                             Describethe property                                          Dflte     Vij|uei»fthe eroperty


                    Camelback Finance
                                                                         2012GMC SubaruSUV
                                                                                                                                         Q4/19       gl70. 00
                     Creditor's Name


                    2440 W CamelbackRd
                     Numbsr    Street                                        Explain what happened

                                                                                  -Property was repossessed.
                                                                             -J Propertywasforeclosed.
                    Phoenix                  AZ       850)5
                                                                             LI Propertywasgarnished.
                     City                       State   ZIP Code             t-J Propertywasattached,seized,or levied.
                                                                             Dfescrtbe(he property                                         Date       Value of the prppsrts




                     Creditor's Name




                     Number    Street
                                                                             Explain whathappened

                                                                             Q Propertywasrepossessed,
                                                                             LI Propertywasforeclosed.
                                                                             [.I Propertywasgarnished.
                     City                       State   ZIP Code
                                                                             Q Property was attached, seized, or levied.



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       pages



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Debtor 1                                                                                                        Case number iifmou'n)
                       First Name     Middle Nsme                Lsst Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
               No
               Yes. Fill in the details.

                                                                         Describe th&actiorithe creditor took                           Date action      Amount
                                                                                                                                        was taken
               Creditors Name




               Number      Street




               City                           State ZIPcode              Last 4 digits of account number: XXXX-_


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?

   ^LNO
    1-1 Yes

 Part 5:              List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
   S%_No
     Q Yes. Fill inthedetailsforeachgift.

                Gifts with a total value of fripre:than $600             Describethe gifts                                              Dates you gave     ValW
                per person                                                                                                              the gifts



               Person to Whom You Gave the Gift




               Number      Street




               City                           Slate   ZIP Code


               Person's relationship to you


           .   Gifts with a total value oftnore than $60tt               Describe the gifts                                             Datesyougave      Value
               per person                                                                                                               the gifts



               Person to Whom You Gave the Gif.




               Number      Street




               City                           Slate   ZIP Code


               Person's relationshipto you


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 Debtor 1 Anabel                                          Gutierrez
                                                                                                              Case number mmowa]




  U. Within 2 years beforeyou filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600to anycharity?
    xgfNo
           Yes. Fill in the details for each gift or contribution.

              Gi8sor»oritributiof(stQ:charities                 Descnbewhatyou contributed                                            O.iteyOju          Value
              thaittdtglmorethafr$600                                                                                                 contributed




           Charity's Name




           Number      Street




           City          State       ZIPCode




  Pa     6:        List Certain Losses



  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

   ^No
       Q Yes. Fill in the details.

              Describe the property you fast and                DeScrite ajny insurance cqverage for the loss                         Date of your      : Valye OffiMperty
              how the loss occurred                                                                                                   loss                tost
                                                                Include the amount that jnsyranee ftas pfiid List pending losurance
                                                                dgfrns on line SS.ofSc/iedufeAS. frofierty:




  Part 7:         List Certain Payments or Transfers

  16 Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Includeany attorneys, bankruptcy petition preparers, or credit counselingagenciesfor services required in your bankruptcy.

   ^No
    I-I Yes. Fi!l in the details.
                                                                Description andvaliie of any property transferred                     Date paymeittor   Amountofpayment
                                                                                                                                      transfer was

              Person Who Was Paid                                                                                                     made



              Number    Street




           City                       State    ZIP Code



           Email orwebsite address


           Person Who Made the Payment, if Not You



Official Form 107                                 Statement of FinancialAffairs for Individuals Filing for Bankruptcy                                            page?


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            Anabel                                          Gutierrez
Debtor 1                                                                                                      Case number wmawni
                   FlratName       Midd'e Name              Last NamR




                                                                    DeseriptiQnandvalue of any property transferred                 Date p
                                                                                                                                         . aymentpr        Amountof
                                                                                                                                    transfer was made      piytnent


            Person Who Was Paid



            Number      Street




            City                        State    ZIP Code




            Email or website address



            Person Who Made the Payment. if Not You


  17.Within 1 year before you fifed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promisedto helpyou dealwithyourcreditorsor to make payments to yourcreditors?
      Do not includeany paymentor transferthatyou listed on line 16.

   ^No
    Q Ves. Fill in the details.
                                                                    Desctiption aridvalue gt any property tiansferred               Date iiiay.fD^nt or   Amoytrt of payment
                                                                                                                                    transfer was
                                                                                                                                    made                         .
            Person Who Was Paid



            Number       Street




            City                        State    ZIPCode

  18.Within2 years beforeyou filed for bankruptcy,didyou sell, trade, orotherwisetransferany propertyto anyone,otherthan property
      transferred in the ordinary course of your businessor financialaffairs?
      Includebothoutrighttransfersand transfersmadeassecurity(suchasthegrantingofa securityinterestor mortgageon yourproperty).
      Do not include giftsand transfers thatyou have already listed on this statement.
   i^tNo
      LI Yes. Fill in the details.
                                                                    Description ?nd value of property         EiiiScnbe aiWpropsrty ar paYmentsreceived      Date transfer
                                                                    transferred     '                        w debts; paid in exchange                       wasmade

            Person Who Received Transfer |


            Number       Street




            City                        State    ZIP Code


            Person's relationshipto you


            Person Who Received Transfer



            Number       Street




            City                        State    ZIP Code

            Person's relationship to you

Official Form 107                                   Statement of Financial Affaifs for Individuals Filing for Bankruptcy                                        pageB


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Debtor 1                                                                                                    Case number wknowif}
                   First l"»       Middie Name




  1 S.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
      are a beneficiary? (These are often called asset-pmtection devices.)

   X^No
    1-1 Yes. Fill in the details.

                                                                  tlescriptton and valueof the property transferred                                          Datetransfer
                                                                                                                                                             was made



           Name of trust




 Part 8; List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storaga Units

 20.Within 1 year beforeyou filed for bankruptcy, wereany financialaccounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Includechecking,savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.


     1-1 Yes. Fill in the details.
                                                                   l.ast^'digits. of account numlrer   TypepFiWCttyntiOF           Date account was       Last balance before
                                                                                                       instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                   ortransferrttt


            Name of Financial Institution
                                                                   xxxx-_                              Q Checking
                                                                                                          Savings
            Number Street
                                                                                                          Money market

                                                                                                       Q Brokerage
            City                        State    ZIPCode                                               Q Other

                                                                   xxxx-_                              Q Checking
            Name of Financial Institution
                                                                                                       Q Savings
            Number      Street                                                                            Money market

                                                                                                          Brokerage
                                                                                                       Q Other
            City                        State    ZIP Code


 21. Doyou now have, or did you have within 1 year before you filed for bankruptcy, anysafedeposit boxor other depository for
     securities, cash, or other valuables?

    'a Yes. Fill in the details.
                                                                   Who else had access to it?                       Describe the contents                         Do you stilt
                                                                                                                                                                 NviMt?

                                                                                                                                                                  a No
            Name of Financial institution
                                                                                                                                                                  a Yes

            Numbsr      Street                                    Number   Street



                                                                  City       State      ZIP Code

            City                       State     ZIP Code




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Debtor 1                                                                                                                   Case number iiiknowa}




22. Hayeyou stored property in a storage unit or place other than your home within 1 year beforeyou filed for bankruptcy?
           .
               No
               Yes. Fill in the details.
                                                                       Who else has or had access to it?                         Diascrifeethe contents                                                               Doyou still
                                                                                                                                                                                                                      Have it?

                                                                                                                                                                                                                      a No
                 Name of Storage Facility                                                                                                                                                                             a Yes

                 Number       Street                                   Number     Street



                                                                       City State ZIP Code

                 City                        State    ZIP Coda




 Part 9;                Identify Property You Hold or Control for Someone Visa
 23. Doyou hold or control any property that someone else owns? Include any property you borrowedfrom, are storing for,
     orjiold in trust for someone.


     Q Yes. Fill in the details.
                                                                      Whereis    :the property?                                  Describe the propB rty                                                           Value



                 Owner's Name


                                                                     Number     Street
                 Number       Street




                                                                     City                             State     ZIP Code
                 City                        State    ZIP Code        ^'          .............                                      "............................. _... .................. .................I

 Part 10s               ©IvoDetails About Environmental Intonnatlon

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances,wastes, or material.
     Srte means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred,

 24.Hasany governmental unit notifiedyou that you may be liable or potentially liable under or in violation of an environmental law?

                ^0
     Q Yes. Fill in the details.
                                                                      Governmental unit                             Environmentallaw, if you know it                                                             Date of notice




               Name of site                                           Governmental unit



               Number     Street                                      Number    Street



                                                                      City                   Stale   ZIP Code




               City                         State    ZIPCode



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Debtor 1                                                                                                      Case number wwawn)




 25. Have you notified any governmental unit of any release of hazardous material?

  X^-No
     Q Yes. Fill in the details.
                                                          Governmental unit                               Environmentallaw, jf you know it                     Date of notice




                                                         Governmental unit



            Number      Street                           Number     Street




                                                         City                  State    ZIP Code



            City                 State   ZIPCode


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

   ^0-No
     a Yes. Fill in the details.
                                                                                                              Nature of the case
                                                                                                                                                                Status of the
                                                           Courtdraawiey


           Case title
                                                           Court Name
                                                                                                                                                                Q Pending
                                                                                                                                                                    On appeal
                                                           Number     Street                                                                                    Q Concluded

           Case number                                                                 Stale   ZIP Code
                                                           City



 Part 11s          Glva Details About Your Business or Connections to Any Bualness
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           Q A sole proprietororself-employed in a trade, profession,orotheractivity, eitherfull-time or part-time
           L] A member of a limited liability company (LLC) or limited liability partnership (LLP)
           Q A partner in a partnership
           Q An officer, director, or managing executive of a corporation
           Q An owner of at least 5% of the voting or equity securities of a corporation

            lo. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                           Describethft nature of (he:business                               Employer Identification number
                                                                                                                             Do not include Social Security, number or ITIK.
            Business Name


                                                                                                                             EIN: __-______.
            Number      Street
                                                           Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                             From     _          To

            City                 State   ZIP Code

                                                           Describe the nature ofthe busmess                                 Employer identification number
                                                                                                                             Dp not include SQCial Security nuiTitierorlTIN.
            Business Name


                                                                                                                             EIN: _ _ -_ _ _ _ _ _.
            Number      Street
                                                           Name: of accountant or bOQkkBeper                                 bates business existed:


                                                                                                                             From                To
            City                 State   ZIP Code


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Debtor .'                                                                                                         Case number ;ff*noim)
                    Firet Name      Middie Name              Last Name




                                                                         Describethe nature of the business                       Emptdyerldentif(catiori number
                                                                                                                                  Do not mtlude Social SecUFjty number orltlN,
              Business Name

                                                                                                                                  EIN: ______
             Number        Street
                                                                         Name of aecpuntant of bookkeeper                         Dates business existed




                                                                                                                                  From               To
             City                        State    ZIPCode




  28. Within 2 years before you tiled for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

    xt^lLtio
      Q Yes. Fill in thedetails below.
                                                                         Date issued




             Name                                                        MM / DD / YYYY



             Number       Street




             City                        State    ZIP Code




 Part 12:           Sign Balow

       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
       18 U. S. C. §§ 152, 1341, 1519, and 3571.




             Signature of Debtor 1                                                        Signature of Debtor 2


             Date                                                                         Date

       Did you attach additional pages to Your Statement of FinancialAffairs for Individuals Filing for Bankruptcy (Official Form 107)?

     XQ No
       a Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
     XQ No
      LJ Yes. Name of person                                                                                             Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                          Declaration, and Signature (Official Form 119).




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     in this information to identifv vour case

                  Anabel                                                 Gutierrez
Debtor 1
                      Firet Name               Middle Name                 Last Name


Debtor 2
(Spouse, if fiiing)   First Name               Middle Name                 Last Name



United States Bankruptcy Court for the:
                                           Phoenix
                                                                           Districto^izona
                                                                                       (State)
Case number
                                                                                                                                                           LI Checkif this is an
(If known)                                                                                                                                                     amended filing




  Official Form 108
  Statement of Intention for Individuals Filing                                                                                        der Chapter 7                      12/15
  Ifyou are an individualfiling underchapter 7, you must fill out this form if:
  . creditors have claims secured by your property, or
  . you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  Iftwo married people are filing together in a joint case, both are equally responsiblefor supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheetto this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1-            List Your Creditors Who Have Secured Claims

    1 For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
          information below.


             identify the creditor and the property that is cotlateral                       Wfiatdo youIntend to dp withthe property that            Did you claim tlte-prQperty
                                                                                             secures a debt? , : : ;'.. :. ^:', ':; '.:,', '. '...   : as exempt on Sctiedule C?

          Creditor'SThe Money Source                                                        I..] Surrender the property.                              aiNo
           name:
                                                                                            [-1 Retain the property and redeem it.                       Yes
          Description
          property
                     ofHomestead:4621N.50thAvenue,Phoenix,AZ 85031^ ^^ain thepropertyandenterinto a
                                                                                                 Reaffirmation Agreement.
          securing debt
                                                                                           Q Retain the propertyand [explain]:


          Creditor's                                                                        Q Surrendertheproperty.                                   UNO
          name:
                                                                                            Q Retain the property and redeem it.                      a Yes
          Description of                                                                    01 Retain the property andenterinto a
          property
                                                                                                 Reaffinnation Agreement.
          securing debt:
                                                                                            Ql Retain the property and [explain]:


          Creditor's                                                                        Q Surrenderthe property.                                  l-l No
          name:
                                                                                            Q Retain the property and redeem it.                      a Yes
          Description of
          property
                                                                                            1_! Retain theproperty andenterinto a
                                                                                                 Reaffirmation Agreement.
          securing debt:
                                                                                            Q Retain thepropertyand [explain]:


          Creditor's                                                                        1-1 Surrender the property.                               a No
          name:
                                                                                            Ql Retain thepropertyand redeem it.                       a Yes
          Description of                                                                    Q Retain thepropertyandenterinto a
          property
                                                                                                 Reaff/rmation Agreement.
          securing debt:
                                                                                            Q Retain the property and [explain]:



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            Anabel                              Gutierrez
                                                                                         Case number (itknown)
                First Name                  L&st Name




Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpiredleasesare leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U. S.C. § 365(p)(2).

     DescritieYOurunexpirei dpersonatprpperty    leases                                                          Will the lease be assumed?

    Lessor's name:                                                                                               UNO
                                                                                                                 a Yes
    Description of leased
    property:


    Lessor's name:                                                                                               Q No
                                                                                                                 a Yes
    Description of leased
    property:


    Lessor's name:                                                                                               UNO

    Description of leased                                                                                        a Yes
    property:



    Lessor's name;                                                                                               UNO
                                                                                                                 a Yes
    Description of leased
    property:



    Lessor's name;                                                                                               Q No
                                                                                                                 a Yes
    Description of leased
    property:


    Lessor's name:                                                                                               Q No
                                                                                                                 a Yes
    Description of leased
    property:



    Lessor's name:                                                                                               a No
                                                                                                                 a Yes
    Descnption of leased
    property:




Part 3;         Sign Below



  Underpenaltyofperjury, I declarethat I haveindicatedmy intention aboutanypropertyofmyestatethatsecuresa debtandany
  personal property that is subject to an unexpired lease.



                                                             Signature of Debtor 2

                                                             Date
          MM/ DD / YYYY                                             MM /   DD /   YYYY




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